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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.


LUCAS VANATTA,

       Plaintiff,

               v.

COMMERCIAL RECOVERY SYSTEMS, INC.,

       Defendant.


                                  PLAINTIFF’S COMPLAINT



       Plaintiff, LUCAS VANATTA (“Plaintiff”), through his attorneys, KROHN & MOSS,

LTD., alleges the following against Defendant, COMMERCIAL RECOVERY SYSTEMS, INC.

(“Defendant”):

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (“FDCPA”), 15

       U.S.C. § 1692, et seq.

                                JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

   3. Defendant conducts business in the state of Colorado, and therefore, personal

       jurisdiction is established.

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  4. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                          PARTIES

  5. Plaintiff is a natural person residing in Lakewood, Jefferson County, Colorado.

  6. Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3), and according to

     Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

  7. Defendant is a debt collector as that term is defined by 15 U.S.C. § 1692a(6) and sought

     to collect a consumer debt from Plaintiff.

  8. Defendant is a collection agency with a business office in Dallas, Texas.

  9. Defendant acted through its agents, employees, officers, members, directors, heirs,

     successors, assigns, principals, trustees, sureties, subrogees, representatives, and

     insurers.

                                FACTUAL ALLEGATIONS

  10. Defendant is attempting to collect a debt from Plaintiff on behalf of the original creditor,

     Citibank South Dakota Na, with an account number ending in 6233.

  11. Plaintiff’s alleged debt owed to Citibank arises from transactions for personal, family,

     and household purposes.

  12. In or around May of 2012, Defendant began placing calls to Plaintiff’s cell phone (720-

     371-65xx) in an attempt to collect a debt.

  13. Defendant called Plaintiff from 800-214-5365, 800-214-7821 and 800-514-5371, all

     numbers belonging to Defendant.

  14. Since around May of 2012, Defendant left Plaintiff several voicemail messages which

     failed to meaningfully disclose the caller’s identity. See transcribed voicemail messages

     attached hereto as Exhibit A.
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  15. Since around May of 2012, Defendant left Plaintiff several voicemail messages which

     failed to disclose in subsequent communications that the communication was from a debt

     collector. See Exhibit A.

  16. In or around May of 2012, Defendant threatened to take legal action against Plaintiff

     even though Defendant has not and does not intend to take such action. Defendant

     falsely suggested that “this matter [would be] forwarded back to the courts” to suggest

     that a court proceeding was already initiated. See Exhibit A.

  17. In or around May of 2012, Defendant threatened to contact his employer unless Plaintiff

     call Defendant right away.

                           COUNT I
  DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

  18. Defendant violated the FDCPA based on the following:

         a. Defendant violated § 1692d of the FDCPA by engaging in conduct that the

            natural consequences of which was to harass, oppress, and abuse Plaintiff in

            connection with the collection of an alleged debt.

         b. Defendant violated § 1692d(6) of the FDCPA by placing telephone calls without

            meaningful disclosure of the caller’s identity.

         c. Defendant violated § 1692e of the FDCPA by using false, deceptive, and

            misleading representations in connection with the collection of any debt.

         d. Defendant violated § 1692e(5) of the FDCPA by threatening to take legal action

            against Plaintiff even though Defendant has not and does not intend to take such

            action.




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          e. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt.

          f. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in

              subsequent communications that the communication was from a debt collector.

      WHEREFORE, Plaintiff, LUCAS VANATTA, respectfully requests judgment be entered

against Defendant, COMMERCIAL RECOVERY SYSTEMS, INC., for the following:

   19. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k.

   20. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. 1692k.

   21. Any other relief that this Honorable Court deems appropriate.


DATED: September 18, 2012                  RESPECTFULLY SUBMITTED,

                                           KROHN & MOSS, LTD.


                                     By: /s/ Douglas Baek                            .

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